Case 16-31683      Doc 232     Filed 05/30/18     Entered 05/30/18 09:39:58       Page 1 of 11




                        UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF CONNECTICUT

IN RE:                                              )          No. 16-31683

Small, Leigh and Amy                                )          Chapter 7

    Debtors                                         )          May 30, 2018

                 NOTICE OF CONTESTED MATTER RESPONSE DATE

         Debtors have filed a Motion to Extend Time to file a Nondischargeability Complaint

(the “Contested Matter”) with the U.S. Bankruptcy Court. Notice is hereby given that any

response to the Contested Matter must be filed with the Court no later than June 13, 2018. In

the absence of a timely filed response, the proposed order in the Contested Matter may enter

without further notice and hearing, see, 11 U.S.C. § 102(1).


                                                    NEIGHBORHOOD HOUSING
                                                    SERVICES OF NEW HAVEN, INC.

                                                    ___________/s/________________
                                                    Scott M. Charmoy, Esq. CT15889
                                                    Charmoy & Charmoy
                                                    1700 Post Road, Suite C-9
                                                    Fairfield, CT 06824
                                                    (203) 255-8100
                                                    scottcharmoy@charmoy.com




*Pursuant to Federal Rule of Bankruptcy Procedure 9006(f), if service is made by mail, three
days are added after the response date set in this notice.
Case 16-31683       Doc 232     Filed 05/30/18    Entered 05/30/18 09:39:58        Page 2 of 11




                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF CONNECTICUT

IN RE:                                              )       No. 16-31683

Small, Leigh and Amy                                )       Chapter 7

    Debtors                                         )       May 30, 2018

  MOTION TO EXTEND TIME TO FILE NONDISCHARGEABILITY COMPLAINT

         Neighborhood Housing Services of New Haven, Inc., (“Movant”) hereby respectfully

 moves to extend the time to file a nondischargeability complaint to May 31, 2018 as follows:

         1.     Debtors filed the instant case on October 31, 2016. Movant sought and received

 an extension of time to file a nondischargeability complaint and objections to discharge to May

 1, 2017.

         2.     On or about July 31, 2013, Movant retained Advanced Construction

Technologies, Inc. (“Advanced Construction”) to perform construction services at a property

known as 15 Lilac Street, New Haven, CT. On or about March of 2015, Advanced Construction

walked off the job with no explanation. Movant was forced to hire a replacement contractor to

complete the job, at substantial expense. Advanced Construction also failed to pay certain

subcontractors, which Movant then had to pay.

         3.     Movant sued Advanced Construction in the Superior Court, J.D. of New Haven at

New Haven, case captioned Neighborhood Housing Services of New Haven, Inc. vs. Advanced

Construction Technologies, Inc., No. NNH-CV-XX-XXXXXXX-S, and on May 6, 2016 obtained a

judgment in the amount of $300,498.40.

         4.     Debtor owns a 50% interest in an entity that holds a 49% interest in Advanced

Construction. Debtor’s cousin, Bruce Small, holds the other 50% in that entity. An individual
Case 16-31683       Doc 232     Filed 05/30/18      Entered 05/30/18 09:39:58         Page 3 of 11




named Yul Wately owns the other 51% of Advanced Construction.

       5.      According to the Debtor’s schedules, neither Advanced Construction nor the

entity holding that 50% interest has any value.

       6.      In order to investigate Advanced Construction’s affairs, and to determine if

Movant had any causes of action against Debtor, Movant sought and obtained orders from this

Court allowing it to conduct Rule 2004 examinations of the above three individuals. The orders

authorizing the Rule 2004 examinations of Wately and Bruce Small were granted on April 7th.

       7.      Due to the nature and extent of the documents sought and the scheduling conflicts

that have already arisen and are likely to arise with the subjects of the examination and their

counsel, Movant will not be able to complete the examinations and digest the information in

sufficient time to determine whether a cause of action against the Debtor exists by the current

May 1, 2017 deadline.

       8.      As a result, Movant sought an extension of the objection to discharge/

nondischargeability complaint deadline to June 30, 2017.

       9.      Debtor objected to NHS’ above referenced motions for examination, as well as its

motion to extend time to object to the Debtor’s discharge and file a nondischargeability action

and its motion to extend time to file a proof of claim.

       10.     The matter was heard before the Court on June 14, 2017, and on October 6, 2017

the Court issued an oral ruling determining that NHS is a party in interest in this case with

standing to request 2004 examinations and bring a nondischargeability action. It granted NHS’

motions to take a number of 2004 examinations, and extended the time for it to object to

Debtors’ discharge and/or file a nondischargeability complaint until October 31, 2017. NHS was
Case 16-31683       Doc 232      Filed 05/30/18     Entered 05/30/18 09:39:58         Page 4 of 11




effectively prohibited from conducting this discovery until this order entered. Debtors have

appealed same.

       11.     After several extensions of the nondischargeability bar date, the current

nondischargeability bar date is Apri1 30, 2018. The order granting NHS’ request for 2004

examination of Leigh and Bruce Small entered on October 6, 2017. Since that date, through

several court hearings, the deponent Leigh Small has complied with NHS’ discovery request in

fits and starts, not commencing production until February 21, 2018, and producing most but not

all of NHS’ discovery request before April 4, 2018. Documents are still outstanding at this time.

       12.     Likewise, Deponent Bruce Small did not agree to comply with certain portions of

NHS’ discovery request directed at him pursuant to his 2004 examination until the hearing on

this matter on April 4, 2018 (the Court disallowed other portions of NHS’ discovery request).

NHS obtained same discovery on April 9, 2018.

       13.        The Court ordered the examination of Leigh Small to occur on April 27th,

subject to his counsel’s availability. Unfortunately, Mr. Small’s counsel fell ill, and the

examination had to be rescheduled to May 25, 2018.

       14.     Assuming the examination is completed on that date, NHS will not reasonably

have time to digest the results of that examination, obtain the transcript of same, and determine

whether or not to prosecute an adversary proceeding under §523(a) by May 31, 2018.

       15.     Accordingly, NHS reasonably requests a further continuance of the non-

dischargeability bar date to June 30, 2018.

       16.     Pursuant to Local Rule 7(b), undersigned counsel reports it has sought Debtors’

counsel’s position on this motion. Debtors counsel does not object to this motion but states as

follows: “In light of the Court’s order and ruling (ECF Nos. 124, 127), Debtors believe it would
Case 16-31683         Doc 232   Filed 05/30/18     Entered 05/30/18 09:39:58         Page 5 of 11




be inappropriate to file an objection in Bankruptcy Court to the further requested for extension of

time sought by Movant. Debtors reserve their rights as set forth in their appeal of ECF Nos. 124,

127, styled In re: Small, 3:17-cv-01744 (JAM).”

       WHEREFORE, Movant respectfully moves to extend the bar date to file a

nondischargeability complaint under §523(a) to June 30, 2018, and for any other relief deemed

just and equitable.

                                                     NEIGHBORHOOD HOUSING
                                                     SERVICES OF NEW HAVEN, INC.

                                                     ___________/s/_______________
                                                     Scott M. Charmoy, Esq. CT15889
                                                     Charmoy & Charmoy
                                                     1700 Post Road, Suite C-9
                                                     Fairfield, CT 06824
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Case 16-31683       Doc 232     Filed 05/30/18    Entered 05/30/18 09:39:58        Page 6 of 11




                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF CONNECTICUT

IN RE:                                              )       No. 16-31683

Small, Leigh and Amy                                )       Chapter 7

    Debtors                                         )

                                            ORDER

         The foregoing Motion to Extend the deadline to file a Nondischargeability Complaint,

 having been presented to this Court, is hereby GRANTED, and it is further ORDERED, that

 Neighborhood Housing Services of New Haven, Inc.’s deadline to file a nondischargeability

 complaint under §523(a) is hereby extended to June 30, 2018.
Case 16-31683        Doc 232     Filed 05/30/18     Entered 05/30/18 09:39:58         Page 7 of 11




                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF CONNECTICUT

IN RE:                                                )       No. 16-31683

Small, Leigh and Amy                                  )       Chapter 7

    Debtors                                           )       May 30, 2018

                                        CERTIFICATION

         This is to certify that on the above date a copy of the Notice of Contested Matter

 Response Date, Motion to Extend Time to file Nondischargeability Complaint, and Proposed

 Order were served by first class mail, postage prepaid, upon the creditor body and parties

 entitled to notice as set forth below. Parties with electronic appearances, including the United

 States Trustee’s Office, were served pursuant to the Court’s ECF/CM system.



                                                      NEIGHBORHOOD HOUSING
                                                      SERVICES OF NEW HAVEN, INC.


                                                      ___________/s/________________
                                                      Scott M. Charmoy, Esq. CT15889
                                                      Charmoy & Charmoy
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                                                      Fairfield, CT 06824
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Case 16-31683      Doc 232    Filed 05/30/18   Entered 05/30/18 09:39:58      Page 8 of 11




                     LIST OF CREDITORS AND TAXING AUTHORITIES

S Squared Development                          2100 Whitney Avenue LLC
Attn: Pres, Gen Mgr. or Acct Rep               c/o FPJ Investments LLC
30 Hazel Terrace, Suite 10                      Attn: Pres, Gen Mgr. or Acct Rep
Woodbridge, CT 06525                           105 Sanford St
                                               Hamden, CT 06514

Aaron Askew                                    Advanced Construction Technologies
579 Third Avenue                               Attn: Pres, Gen Mgr. or Acct Rep
West Haven, CT 06516                           25 Palmieri Drive
                                               New Haven, CT 06515

Alphabet Academy LLC                           Amity Physical Therapy LLC
Attn: Pres, Gen Mgr. or Acct Rep               Attn: Pres, Gen Mgr. or Acct Rep
605 Benham St                                  228 Whitney Ave
Hamden, CT 06514                               Hamden, CT 06518

Bank of America
PO Box 982238                                  Century Financial Services Inc.
Attn: President, Secretary or Mng Agent        Attn: :President, Secretary or Mng Agent
El Paso, TX 79998                              23 Maiden Lane
                                               North Haven, CT 06473

Barrett Couden                                 Bruce Small
128 Skyview Circle                             63 Henry Street
Hamden, CT 06514                               Fairfield, Ct 06824

Zullo & Jacks Law Office                       Chatham Land Development LLC
Attn: President, Secretary or Mng Agent        Attn: :President, Secretary or Mng Agent
83 Main St                                     PO Box 185268
East Haven, CT 06512                           Hamden, CT 06518


Connecticut Orthopedic Specialist              Yul Wately
Attn: President, Secretary or Mng Agent        25 Palmeri Drive
84 N Main St                                   New Haven, CT 06515
Branford, CT 06405

Crystal Property Managers LLC                  Crystal Property Restoration LLC
Attn: President, Secretary or Mng Agent        Attn: President, Secretary or Mng Agent
128 Skyview Circle                             30 Hazel Terr., Suite 26
Hamden, CT 06514                               Woodbridge, CT 06525

Department of Revenue Services                 Dutch Wharf Boat & Marina Inc.
Collections Unit Bankruptcy Team               Attn: President, Secretary or Mng Agent
450 Columbus Blvd, Ste 1                       70 Maple Street
Hartford, CT 06103                             Branford, CT 06405
Case 16-31683      Doc 232      Filed 05/30/18   Entered 05/30/18 09:39:58      Page 9 of 11




Earl D. Geyer Jr. and April Geyer                Ford Motor Credit
62 Benham Hill Place                             Attn: President, Secretary or Mng Agent
Hamden, CT 06514                                 PO Box 62180
                                                 Colorado Springs, CO 80962-2180

Frank Perrotti Jr.                               George Koutroumanis
105 Sanford St                                   15 Rollin Road
Hamden, CT 06514                                 Woodbridge, CT 06525



Attn.: Gerald P Ryan, Trustee                    Golfcrest Development LLC
National Lumber Inc.                             Attn: President, Secretary or Mng Agent
270 East Main St                                 30 Hazel Terrace
Branford, CT 06405                               Suite 10
                                                 Woodbridge, CT 06525

Internal Revenue Service                         J Crew/Comenity Bank
Centralized Insolvency Operations                Attn: President, Secretary or Mng Agent
P.O. Box 7346                                    PO Box 659704
Philadelphia PA 19101-7346                       San Antonio, TX 78265

Jo Max Recovery Services                         Joshua Brown
Attn: President, Secretary or Mng Agent          7 South Main St
9242 W Union Hills Drive, Suite 102              Branford, CT 06405
Peoria, AZ 85382

Keybank/AES                                      L&A Development LLC
Attn: President, Secretary or Mng Agent          Attn: President, Secretary or Mng Agent
PO Box 61047                                     128 Skyview Circle
Harrisburg, PA 17106                             Hamden, CT 06514

Law Office of W Martyn Philpot, Jr LLC           Lenox Builders LLC
409 Orange St                                    Attn: President, Secretary or Mng Agent
New Haven, CT 06511                              30 Hazel Terrace, Suite 10
                                                 Woodbridge, CT 06525

Lyon & Billard Co.                               Michael and Holly Benedetti
Attn: President, Secretary or Mng Agent          128 Skyview Circle
995 Washington St                                Hamden, CT 06518
Middletown, CT 06457

Naugatuck Valley Savings and Loan                NCB Management Services Inc.
Attn: President, Secretary or Mng Agent          Attn: President Secretary of Mng Agent
333 Church St                                    PO Box 1099
Naugatuck, CT 06770                              Langhorne, PA 19047
Case 16-31683     Doc 232     Filed 05/30/18   Entered 05/30/18 09:39:58      Page 10 of 11




Neighborhood Housing Services                  Nelnet
Attn: President, Secretary or Mng Agent        Attn: President, Secretary or Mng Agent
333 Sherman Ave                                PO Box 82561
New Haven, CT 06511                            Lincoln, NE 68501

Yolin & Perzin LLC                             Nordstrom Bank
Attn: President, Secretary or Mng Agent        Attn: President, Secretary or Mng Agent
12 Trumbull St                                 PO Box 6555
New Haven, CT 06511                            Englewood, CO 80155

PC Richards & Son/ Synchrony Bank              Platte River Insurance Co
Attn: President, Secretary or Mng Agent        Attn: President, Secretary or Mng Agent
PO Box 960061                                  1600 Aspen Commons
Orlando, FL 32896                              Middleton, WI 53562

Primary Residential Mortgage Inc.              Restoration Hardware
Attn: President, Secretary or Mng Agent        Comenity Bank
PO Box 593                                     Attn: President, Secretary or Mng Agent
Salt Lake City, UT 84110                       PO Box 182273
                                               Columbus, OH 43218
Rogin Nassau LLC City Place I                  Seterus Inc.
Attn: President, Secretary or Mng Agent        Attn: President, Secretary or Mng Agent
185 Asylum St, 22nd Fl                         PO Box 1077
Hartford, CT 06103                             Hartford, CT 06143

Sheffield Financial                            TD Bank NA
Attn: President, Secretary or Mng Agent        Attn: President, Secretary or Mng Agent
PO Box 580229                                  PO Box 9547
Charlotte, NC 28258                            Portland, ME 04112

                                               Trans-Continental Credit & Collection
TJX Rewards / Syncs                            Attn: President, Secretary or Mng Agent
Attn: President, Secretary or Mng Agent        PO Box 5055
PO Box 530948                                  White Plains, NY 10602
Atlanta, GA 30353

Wells Fargo Card Services                      Wolf Horowitz & Etlinger LLC
Attn: President, Secretary or Mng Agent        Attn: President, Secretary or Mng Agent
PO Box 6412                                    99 Pratt St
Carol Stream, IL 60197                         Hartford, CT 06103


Yale New Haven Hospital
Attn: President, Secretary or Mng Agent
20 York St
New Haven, CT 06510
Case 16-31683     Doc 232     Filed 05/30/18   Entered 05/30/18 09:39:58    Page 11 of 11




          PARTIES WHO RECEIVE ELECTRONIC NOTICE AND DEBTORS

Office of The United States Trustee       Kara Rescia, Esq. Trustee
150 Court St.                             Rescia, Katz & Shear, LLP
Room 302                                  5104A Bigelow Commons l
New Haven, CT 06510                       Enfield, CT 06082

Lucas Bennett Rocklin, Esq.               Patricia Davis, Esq.
Neubert Pepe & Monteith PC                Marinosci Law Group
195 Church St., 13th Floor                275 West Natick Road
New Haven CT 06510                        Warwick, RI 02886
For Creditor Liberty Bank                 For Creditor NationStar Mortgage, LLC


Lauren McNair, Esq.                       Leigh and Amy Small
Jeffrey M. Sklarz, Esq.                   73 Sunset Beach Road
Green & Sklarz LLC                        Branford CT 06405
243 Tresser Blvd, 17th Floor
Stamford, CT 06901
For Debtors Amy Small and Leigh Small
